             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION
                        3:17-cv-00393-MR

ROBERT BALLARD,                                  )
                                                 )
                        Plaintiff,               )
                                                 )            ORDER
v.                                               )
                                                 )
FNU HATLEY, FNU THOMPSON,                        )
FNU BENNETT, FNU HERRING,                        )
FNU ROGERS, FNU AARON, FNU DOE,                  )
FNU PARKS, FNU SIMMONS,                          )
EYHO A. PARKS, AMBA E. TOTOU,                    )
CHARLENE G. BARRETT,                             )
OLUWAFULUKE ABISOGUN,                            )
WINNIE KAIRUKI                                   )
                                                 )
                      Defendants.                )
__________________________________               )

      This matter is before the undersigned following the Order of the District

Court granting Plaintiff’s request for a judicial settlement conference. Doc. 90.

      A judicial settlement conference is set for Thursday, January 14, 2021

beginning at 9:30 AM.

      The conference will be conducted by telephone. Call-in instructions will

be provided to the parties by separate communication.

      Plaintiff shall participate in the conference from Central Prison,

Plaintiff’s present place of incarceration. Central Prison shall ensure that the




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necessary accommodations are made to allow Plaintiff to participate in the

settlement conference.

      Defendants and their counsel may participate in the conference from any

location they deem appropriate, provided that Defendants and their counsel

participate using a single conference line. Further, in accordance with this

district’s Local Civil Rule 16.3(d)(2), a person with full authority (not including

counsel of record) to settle all pending claims must also participate in the

conference on behalf of all Defendants, to the extent Defendants themselves do

not have such authority. Any such person shall also participate using the same

conference line as Defendants and their counsel.

      Any request seeking permission to modify the terms of this Order shall

be filed no later than January 7, 2021 or be subject to summary denial.

      The Clerk is respectfully instructed to certify a copy of this Order to

Captain Michelle Hartley at Central Prison.

      It is so ordered.


                                    Signed: December 29, 2020




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